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 8                                UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10   SHERRILL FARRELL, JAMES                        Case No.: 3:23-CV-04013-JCS
     GONZALES, JULIANNE “JULES” SOHN,
11   STEPHAN “LILLY” STEFFANIDES,                   CIVIL RIGHTS ACTION
     individually and on behalf of all others
12   similarly situated,                            CLASS ACTION
13            Plaintiffs,                           [PROPOSED] ORDER RE: CLASS
                            v.                      CERTIFICATION, FINAL APPROVAL OF
14                                                  CLASS ACTION SETTLEMENT, AND
     UNITED STATES DEPARTMENT OF                    REASONABLE ATTORNEYS’ FEES AND
15   DEFENSE; LLOYD J. AUSTIN III,                  COSTS
     Secretary, United States Department of
16   Defense, in his official capacity;             Judge:      Hon. Joseph Spero
     CHRISTINE WORMUTH, Secretary, United           Date:       March 12, 2025
17   States Army, in her official capacity;         Time:       9:30 a.m.
     CARLOS DEL TORO, Secretary, United             Location:   Courtroom D, 15th Floor
18   States Navy, in his official capacity; FRANK
     KENDALL, Secretary, United States Air
19   Force, in his official capacity,
20           Defendants.
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 1                                          [PROPOSED] ORDER
 2          The Court held a Fairness Hearing on March 12, 2025 on Plaintiffs’ motion for class
 3   certification, final approval of class action settlement, and reasonable attorneys’ fees and costs. The
 4   Court has reviewed Plaintiffs’ motion, the memorandum and declarations filed in support of the
 5   motion, the settlement agreement and class notice, and relevant filings in the case. Good cause
 6   appearing and pursuant to Federal Rule of Civil Procedure 23, the Court certifies the settlement class
 7   and grants final approval of the class action settlement, and finds as follows:
 8              1. The Court finds that certification of the following class is appropriate for settlement
 9                  purposes pursuant to Federal Rules of Civil Procedure 23(a) and (b)(2):
10                  “Veterans of the United States Army, Navy, Air Force, and Marine Corps who were
11                  administratively separated prior to September 20, 2011, and whose most recent
12                  Service separation document shows their basis for discharge was sexual orientation,
13                  homosexual conduct, homosexual admission, homosexual marriage, similar language,
14                  or a policy title or number signifying separation for sexual orientation.”
15              2. The Court finds that the class, which likely contains more than 30,000 members, is so
16                  numerous that joinder is impractical, satisfying Rule 23(a)(1).
17              3. The Court finds that there are questions of law and fact common to the class,
18                  satisfying Federal Rule of Civil Procedure 23(a)(2), including:
19                      •   Whether Defendants violated class members’ equal protection rights by (1)
                            issuing DD-214s that identified class members’ actual or perceived sexual
20                          orientation, while not identifying the actual or perceived sexual orientation of
                            other veterans, and (2) maintaining a policy expressly disclaiming an intention
21                          to systematically remove indicators of sexual orientation on class members’
                            DD-214s following the repeal of DADT;
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                        •   Whether Defendants’ maintenance of a policy that refuses to systematically
23                          remove indicators of sexual orientation from DD-214s is a continuing
                            violation of class members’ constitutional right to privacy;
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                        •   Whether Defendants have violated due process by maintaining a policy that
25                          refuses to systematically remove sexual orientation indicators from DD-214s;
                            and
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                        •   Whether the discharge upgrade and record correction processes that
27                          Defendants have put in place are constitutionally inadequate.
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 1   4. The Court previously appointed named Plaintiffs Sherrill Farrell, James Gonzales,
 2      Jules Sohn, and Lilly Steffanides to serve as Class Representatives, having
 3      demonstrated that their claims are typical of those of the class, satisfying Rule
 4      23(a)(3), and that they have fairly and adequately represented the class and have no
 5      conflicts of interest interfering with their ability to represent absent class members,
 6      satisfying Rule 23(a)(4). The Court confirms that these four Class Representatives
 7      satisfy the requirements to continue to serve as Class Representatives for the certified
 8      class.
 9   5. Pursuant to Federal Rule of Civil Procedure 23(g), the Court previously found that
10      Impact Fund, Legal Aid at Work, King & Spalding LLP, and Haynes and Boone, LLP
11      have the requisite experience and resources necessary to represent the class and serve
12      as Class Counsel for the conditionally certified class. Taking into account the joint
13      stipulation to substitute California Women’s Law Center for Legal Aid at Work, the
14      Court finds that Impact Fund, California Women’s Law Center, King & Spalding
15      LLP, and Haynes and Boone LLP satisfy the requirements to continue serving as
16      Class Counsel for the certified class. Class Counsel are confirmed and shall oversee
17      and perform the duties necessary to effectuate the settlement.
18   6. The Court finds that the proposed settlement is fair, reasonable, and adequate under
19      Federal Rule of Civil Procedure 23(e)(2) and consistent with Ninth Circuit law. See
20      In re Bluetooth Headset Prods. Liab., 654 F.3d, 935, 946 (9th Cir. 2011).
21   7. The Court finds that the settlement is the result of good faith, non-collusive arms-
22      length negotiations between experienced counsel representing the interests of the
23      Settlement Class and Defendants, after thorough factual and legal investigations. In
24      granting final approval of the settlement, the Court has considered the nature,
25      strengths, and weaknesses of the claims, the relief obtained on behalf of the
26      Settlement Class, the release of claims in exchange for such relief, and the fact that
27      the settlement represents a compromise of the Parties’ respective positions.
28      Additionally, the Court finds that the terms of the settlement do not improperly grant


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 1                preferential treatment to any individual class member.
 2             8. Class Counsel is awarded reasonable attorneys’ fees and costs in the amount of
 3                $350,000, which is the amount sought by Plaintiffs and the amount set forth in the
 4                Parties’ agreement. The Court finds that Plaintiffs are a prevailing party under the
 5                Equal Access to Justice Act, 28 U.S.C. §§ 2412, and that the amount of $350,000 is
 6                reasonable under this statute. Based on the information provided in Class Counsel’s
 7                declarations in support of the motions for preliminary and final approval, and the
 8                Court’s familiarity with the procedural history in this case, the Court finds that the
 9                hours compensated under an award of $350,000 are well within the bounds of what
10                was reasonable in this matter, and that such award does not exceed the limits set forth
11                by EAJA and the Ninth Circuit’s setting of allowable EAJA rates. This award of fees
12                and costs comports with the requirements of Rule 23.
13             9. The Court finds that the previously approved notice plan has been duly effectuated,
14                including distribution of class notice that fairly and adequately describes the proposed
15                settlement and how class members could object to or participate in the settlement.
16                The Court further finds that the Parties’ notice plan complies fully with the Federal
17                Rules of Civil Procedure, due process, and all other applicable laws.
18             10. The Court finds that a full and fair opportunity has been afforded to class members to
19                participate in the proceedings convened to determine whether the proposed settlement
20                should be given final approval. The Court further finds that the response of class
21                members to the settlement supports final approval. No class member has objected to
22                the settlement.
23             11. The Court orders the Parties to implement and comply with the terms of the
24                settlement.
25         It is therefore ORDERED that Plaintiffs’ Motion for Class Certification, Final Approval of
26   Class Action Settlement, and Reasonable Attorneys’ Fees and Costs is GRANTED.
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28   DATED: ___________, 2025



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 2       HON. JOSEPH SPERO
 3       Chief Magistrate Judge

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